             Case 3:22-cr-00426-JSC Document 39-1 Filed 05/22/23 Page 1 of 4



 1   JODI LINKER
     Federal Public Defender
 2   Northern District of California
     ANGELA CHUANG
 3   Assistant Federal Public Defender
     19th Floor Federal Building - Box 36106
 4
     450 Golden Gate Avenue
 5   San Francisco, CA 94102
     Telephone: (415) 436-7700
 6   Facsimile: (415) 436-7706
     Email:       Angela_chuang@fd.org
 7

 8   Counsel for Defendant DEPAPE
 9

10                             IN THE UNITED STATES DISTRICT COURT
11                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                      SAN FRANCISCO DIVISION
13

14      UNITED STATES OF AMERICA,                          Case No.: CR 22–426 JSC
15                       Plaintiff,                        STIPULATION AND [PROPOSED]
                                                           ORDER TO MODIFY PRETRIAL
16              v.                                         DEADLINES AND CONTINUE
                                                           TRIAL DATE
17      DAVID WAYNE DEPAPE,
18                       Defendant.
19

20

21           The above titled matter is currently scheduled for a pretrial conference on October 11,

22   2023, and for trial beginning on October 23, 2023. To remedy scheduling issues, the parties

23   have agreed to a brief continuance of a few weeks and to modifying the pretrial schedule as

24   follows, all subject to the defendant’s right to an effective defense:

25             x     July 28, 2023: Joint proposed jury questionnaire including case description and

26                   involved individuals list;

27             x     August 2, 2023: Status conference at 11:30 AM regarding jury questionnaires;

28

     [PROPOSED] STIPULATED ORDER
     DEPAPE, CR 22–426 JSC
             Case 3:22-cr-00426-JSC Document 39-1 Filed 05/22/23 Page 2 of 4



1              x   August 15, 2023: Deadline for Rule 16 and Criminal Local Rule 16-1(c)
2                  discovery and disclosures, including the government’s expert disclosures, if any,
3                  and excepting defense expert disclosures. Government to produce Brady, Giglio,
4                  and Jencks materials;
5              x   September 13, 2023: Government to produce its draft witness and exhibit lists to
6                  the defense;
7              x   September 20, 2023: Deadline for the defendant’s expert disclosures, if any;
8              x   September 27, 2023: Motions in limine, serve and file exhibit and witness lists
9                  (excluding rebuttal and impeachment witnesses), exchange exhibits or provide
10                 Bates numbers of exhibits already in opposing party’s possession;
11             x   October 11, 2023: Oppositions to motions in limine;
12             x   October 18, 2023: Replies to motions in limine, joint proposed jury instructions,
13                 proposed verdict form;
14             x   October 18, 2023: Parties to file joint Pretrial Conference Statement in accordance
15                 with Criminal Local Rule 17.1-1(b);
16             x   October 25, 2023: Pretrial conference at 10:00 AM;
17             x   November 6, 2023 and subsequent days as needed: Jury selection;
18             x   November 13, 2023: Trial.
19           The government would oppose any additional continuance of the trial date.
20           The parties also agree that failing to exclude the time from May 19, 2023, to November
21   13, 2023, would unreasonably deny counsel for the defendant the reasonable time necessary for
22   effective preparation, taking into account the exercise of due diligence. 18 U.S.C.
23   § 3161(h)(7)(B)(iv). Furthermore, the parties agree that the ends of justice served by excluding
24   the time from May 19, 2023, to November 13, 2023, from computation under the Speedy Trial
25   Act outweigh the best interests of the public and the defendant in a speedy trial and that,
26   ///
27   ///
28   ///

     [PROPOSED] STIPULATED ORDER
     DEPAPE, CR 22–426 JSC
                                                    2
             Case 3:22-cr-00426-JSC Document 39-1 Filed 05/22/23 Page 3 of 4



1    therefore, excluding the time between those dates from computation under the Speedy Trial Act
2    is appropriate. 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).
3
               IT IS SO STIPULATED.
4

5                     May 19, 2023                     ISMAIL J. RAMSEY
                      Dated                            United States Attorney
6                                                      Northern District of California
7                                                                /S
8                                                      LAURA VARTAIN HORN
                                                       HELEN GILBERT
9                                                      KYLE F. WALDINGER
                                                       Assistant United States Attorneys
10

11
                      May 19, 2023                     JODI LINKER
12
                      Dated                            Federal Public Defender
13                                                     Northern District of California

14                                                              /S
                                                       ANGELA CHUANG
15                                                     JODI LINKER
                                                       Attorneys for David DePape
16
17

18

19

20

21

22

23

24

25

26
27

28

     [PROPOSED] STIPULATED ORDER
     DEPAPE, CR 22–426 JSC
                                                   3
             Case 3:22-cr-00426-JSC Document 39-1 Filed 05/22/23 Page 4 of 4



 1                                       [PROPOSED] ORDER
 2           For the reasons stated above, the Court hereby adopts the modified schedule for pretrial
 3   deadlines and continues the trial date in this matter to November 13, 2023, with jury selection
 4   on November 6, 2023. The currently scheduled trial date of October 23, 2023, is vacated.
 5           The Court also finds that failing to exclude the time from May 19, 2023, to November
 6   13, 2023, would deny counsel for the defendant the reasonable time necessary for effective
 7   preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).
 8   The Court further finds that the ends of justice served by excluding the time from May 19,
 9   2023, to November 13, 2023, from computation under the Speedy Trial Act outweigh the best
10   interests of the public and the defendant in a speedy trial. Therefore, and with the consent of
11   the parties, IT IS HEREBY ORDERED that the time from May 19, 2023, to November 13,
12   2023, shall be excluded from computation under the Speedy Trial Act. 18 U.S.C.
13   § 3161(h)(7)(A) and (B)(iv).
14         IT IS SO ORDERED.
15

16   DATED:       May 22, 2023                                 ______
                                                               __   ______________________
                                                                    __
                                                               ______________________________ ____
                                                               JACQUELINE
                                                               J CQ
                                                               JA  QUE
                                                                     U LINE S. CORLEY
17                                                             United States District Judge
18

19

20

21

22

23

24

25

26
27

28

     [PROPOSED] STIPULATED ORDER
     DEPAPE, CR 22–426 JSC
                                                    4
